              UNITED STATES DISTRICT COURT FOR THE
              WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                          DOCKET NO. 1:08cr128

UNITED STATES OF AMERICA,     )
                              )
              Plaintiff,      )
                              )                      FINAL
           v.                 )               ORDER OF FORFEITURE
                              )
(15) WILLIAM HOWARD           )
WILKERSON,                    )
                              )
              Defendant.      )
______________________________)


      THIS MATTER is before the Court on the Government’s Motion for Final

Order of Forfeiture. [Doc. 339].

      On February 23, 2009, this Court entered a Preliminary Order of

Forfeiture pursuant to 21 U.S.C. § 853(n) and Fed. R. Crim. P. 32.2(b), based

upon the Defendant’s plea of guilty to Count One of the Bill of Indictment. In

the Bill of Indictment, Count One charged him, along with several other

defendants, with knowingly and intentionally combining, conspiring,

confederating and agreeing with each other to possess with intent to distribute

a quantity of cocaine base, commonly known as crack cocaine, a Schedule

II controlled substance, in violation of 21 U.S.C. § 846 and 841(a)(1).




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      On April 15 through May 14, 2009, the United States posted on an

official government internet site (www.forfeiture.gov), for at least 30

consecutive days, notice of this forfeiture and of the intent of the United

States to dispose of the forfeited property in accordance with law, and further

notifying all third parties of their right to petition the Court within thirty days for

a hearing to adjudicate the validity of any alleged legal interest in the property.

It appears from the record that no such claims have been filed.

      IT IS, THEREFORE, ORDERED:

      In accordance with Rule 32.2(c)(2), the Preliminary Order of Forfeiture

is confirmed as final. All right, title, and interest in the following properties,

whether real, personal, or mixed, has therefore been forfeited to the United

States for disposition according to law:

      One Taurus handgun, .45 caliber, s/n NTE12678;
      One Winchester rifle, .22 caliber, s/n B1807423;
      One Talon handgun, 9mm caliber, s/n 06154;
      One Smith & Wesson handgun, 9mm caliber, s/n TDF4299;
      One Phoenix Raven handgun, .25 caliber, s/n 3015702;
      One Highpoint handgun, .40 caliber, s/n X714752;
      One Remington 870 pump shotgun, 12 gauge, s/n S349807V;
      One SS Krease Co. shotgun, 12 gauge, s/n 589399;
      One Lorcin handgun, .380 caliber, s/n 532208;
      Two Jennings handguns (matching set), .22 caliber, s/ns 321853
           and 363115;
      One Yugo rifle, 7.62x39 rifle, s/n F173927;
      One unknown make revolver, .22 caliber, s/n TX76045.




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  SO ORDERED.




                                    Signed: October 8, 2009




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